  Case 3:18-bk-33725-SDR              Doc 87 Filed 08/14/19 Entered 08/14/19 16:01:11          Desc
                                      Main Document    Page 1 of 2




SO ORDERED.
SIGNED this 14th day of August, 2019

THIS ORDER HAS BEEN ENTERED ON THE DOCKET.
PLEASE SEE DOCKET FOR ENTRY DATE.




        ________________________________________________________________

     IN THE BANKRUPTCY COURT FOR THE EASTERN DISTRICT OF TENNESSEE

   IN RE:

   DAVID A. RAMEY,                                 Case No. 3:18-bk-33725-MPP

                            Debtor.


                                            AGREED ORDER

            This matter came before the Court on the Debtor's motion for an order requiring the

   chapter 7 trustee, Michael Fitzpatrick, to abandon certain property to the Debtor. The Debtor,

   David Ramey, by and through counsel, and attorney Michael Fitzpatrick, in his capacity as

   Chapter 7 Trustee in this case, by counsel, have reached an agreement as to the Debtor's motion.

            The parties hereby agree, and it is hereby ORDERED by the Court as follows:

            1.     The chapter 7 trustee, Michael Fitzpatrick, shall abandon to the Debtor (a) the

   Debtor's claim against Veda Odle for fraud and conversion, and (b) the bankruptcy estate's

   interest in the non-vehicle personal property (which does not include tools or mechanical

   generators) of the Debtor's father, Sheldon Ramey. Such property is of inconsequential value to

   the bankruptcy estate.
Case 3:18-bk-33725-SDR          Doc 87 Filed 08/14/19 Entered 08/14/19 16:01:11               Desc
                                Main Document    Page 2 of 2



       2.      The Parties agree that the question of whether the Trustee shall abandon the

estate's interest in the 2012 Dodge Ram shall be continued until the Trustee receives the final

report of distribution from the estate's administrator.

       3.      The chapter 7 trustee shall give the Debtor twenty one (21) days advance written

notice of any plan to sell the 2012 Dodge Ram truck, so that the Debtor can present a motion to

the Bankruptcy Court to consider such issue, in the event the Debtor opposes any such sale.



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Submitted and approved by:

By: /s/ Elliott J. Schuchardt
    Elliott Schuchardt
    TN BPR # 27016

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